        Case 1:11-cv-04409-WSD Document 37 Filed 08/16/18 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION




 IN RE: WRIGHT MEDICAL                       CIVIL ACTION NO.
 TECHNOLOGY, INC., CONSERVE                  1:12md2329-TWT
 HIP IMPLANT PRODUCTS                        All Cases
 LIABILITY LITIGATION




                                      ORDER

      Terrence Smith, counsel of record for plaintiffs having moved to withdraw

and having complied with the rules of this court in this regard,

      IT IS HEREBY ORDERED that counsel for the above-named plaintiffs be

allowed to withdraw in this case and directs the Clerk of turn off electronic

notification to Mr. Terrance Smith.

             SO ORDERED, this 16th day August, 2018.



                                       /sThomas W. Thrash
                                       THOMAS W. THRASH, JR.
                                       UNITED STATES DISTRICT JUDGE
